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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

v. CASENO. & ZY oe AA VINE HA
21 U.S.C. § 841(a)(1)

18 U.S.C. § 924(c)
LEWIS JAMES SCOTT 18 U.S.C. § 922(g)

INDICTMENT
The Grand Jury charges:

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COUNT ONE PILED - USDC - FLMO -TRe

On or about September 4, 2023, in the Middle District of Florida, the
defendant,
LEWIS JAMES SCOTT,
did knowingly and intentionally possess with intent to distribute a controlled
substance, which violation involved a mixture and substance containing a detectable
amount of methamphetamine, a Schedule II controlled substance.
In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).
COUNT TWO
On or about September 4, 2023, in the Middle District of Florida, the
defendant,
LEWIS JAMES SCOTT,
did knowingly possess a firearm in furtherance of a violation of a drug trafficking

crime for which the defendant may be prosecuted in a Court of the United States,
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specifically, possession of a controlled substance with intent to distribute as alleged in
Count One above; Count One being incorporated by reference.

In violation of 18 U.S.C. §§ 924(c)(1)(A)(i) and 2.

COUNT THREE

On or about September 4, 2023, in the Middle District of Florida, the

defendant,
LEWIS JAMES SCOTT,

knowing that he had been previously convicted in any court of a crime punishable by
imprisonment for a term exceeding one year, including the following offense:

Tampering with Physical Evidence, on July 12, 2018;
did knowingly possess, in and affecting interstate and foreign commerce, a firearm
and ammunition, to wit: a Smith and Wesson, Model M&P Bodyguard, .380 with
serial number KFV5958, and three rounds of CBC .380 caliber ammunition. ©

All in violation of 18 U.S.C. §§ 922(g) and 924(a)(8).

FORFEITURE
1. The allegations contained in Counts One through Three are
incorporated by reference for the purpose of alleging forfeiture pursuant to the
provisions of 18 U.S.C. § 924(d), 21 U.S.C. § 853 and 28 U.S.C. § 2461(c).
2. Upon conviction of 21 U.S.C. § 841(a)(1), the defendant shall forfeit to
the United States, pursuant to 21 U.S.C. § 853(a)(1) and (2), any property

constituting, or derived from, any proceeds the defendant obtained, directly or
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indirectly, as a result of such violation, and any property used, or intended to be
used, in any manner or part, to commit, or to facilitate the commission of, such
violation.

3. Upon conviction of a violation of 18 U.S.C. § 922(g), the defendant
shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §
2461(c), all firearms involved in or used in the violation.

4, The property to be forfeited includes, but is not limited to, a Smith and
Wesson, Model M&P Bodyguard, .380 with serial number KFV5958, and CBC .380
caliber ammunition, seized on or about on or about September 4, 2023.

5. If any of the property described above, as a result of any acts or
omissions of the defendant:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;

Cc. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
e. has been commingled with other property, which cannot be
divided without difficulty,
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the United States shall be entitled to forfeiture of substitute property pursuant to 21

U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

A TRUE BILL,

Foreperson

ROGER B. HANDBERG
United States Attorney

we A

Samantha J. Newman
Assistant United States Attorney

By: ft fT p
as ks Sinacore
44(-* Assistait United States Attorney
Deputy Chief, Violent Crimes and Narcotics
Section
FORM OBD-34
February 24

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No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

THE UNITED STATES OF AMERICA

Vs.

LEWIS JAMES SCOTT

INDICTMENT

Violations: 21 U.S.C. § 841(a)(1)
18 U.S.C. § 924(c)
18 U.S.C. § 922(g)

A true bill,

' Foreperson

Filed in open court this 27" day

of Feb

2024.

Bail $

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